                   UNITED STATES BANKRUPTCY COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Claud C Mollenthiel
     Tamayo Mollenthiel
                                          Case No.: 5-19-03635 MJC

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  PNC
 Court Claim Number:             06
 Last Four of Loan Number:       9995
 Property Address if applicable: 1 Blair Ct

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $38,403.96
 b.      Prepetition arrearages paid by the trustee:                        $38,403.96
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $8,408.15
 f.       Postpetition arrearage paid by the trustee:                       $8,408.15
 g.       Total b, d, and f:                                                $46,812.11

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: September 24, 2024
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Claud C Mollenthiel
    Tamayo Mollenthiel
                                                           Case No.: 5-19-03635 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on September 24, 2024, I served a copy of
this Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Tullio DeLuca, Esquire
 381 N 9th Ave
 Scranton PA 18504


 Served by First Class Mail
 PNC NA
 Att: Bankruptcy
 3232 Newmark Dr
 Miamisburg OH 45342

 Claud C Mollenthiel
 Tamayo Mollenthiel
 1 Blair Ct
 E Stroudsburg PA 18301


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: September 24, 2024                              /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 5:19-bk-03635-MJC          Doc 93     Filed 09/24/24      Entered 09/24/24 13:30:42     Desc
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                                            Disbursements for Claim
Case: 19-03635          CLAUDE C. MOLLENTHIEL
         PNC BANK
                                                                                Sequence: 13
         ATTN: BANKRUPTCY DEPT
                                                                                   Modify:
         3232 NEWMARK DRIVE
                                                                               Filed Date: 11/6/2019 12:00:00AM
         MIAMISBURG, OH 45342-
                                                                               Hold Code:
 Acct No: 9995/POST ARREARS/1 BLAIR COURT



                                              Debt:         $8,408.15       Interest Paid:              $0.00
        Amt Sched:                 $0.00                                      Accrued Int:               $0.00
         Amt Due:       $0.00                  Paid:        $8,408.15        Balance Due:                $0.00

Claim name                           Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                           DisbDescrp
 5210        PNC BANK
521-0 PNC BANK                               09/17/2024      2040258      $172.42       $0.00     $172.42


521-0 PNC BANK                               08/07/2024      2039239      $160.81       $0.00     $160.81 08/20/2024


521-0 PNC BANK                               07/10/2024      2038359      $160.80       $0.00     $160.80 07/23/2024


521-0 PNC BANK                               06/18/2024      2037537      $321.62       $0.00     $321.62 07/03/2024


521-0 PNC BANK                               05/22/2024      2036635      $160.80       $0.00     $160.80 06/04/2024


521-0 PNC BANK                               04/17/2024      2035630      $321.62       $0.00     $321.62 04/30/2024


521-0 PNC BANK                               03/14/2024      2034668      $160.81       $0.00     $160.81 03/25/2024


521-0 PNC BANK                               02/14/2024      2033708      $160.80       $0.00     $160.80 02/27/2024


521-0 PNC BANK                               12/19/2023      2031886      $160.81       $0.00     $160.81 01/18/2024


521-0 PNC BANK                               11/15/2023      2030924      $160.81       $0.00     $160.81 12/04/2023


521-0 PNC BANK                               09/19/2023      2029002      $169.20       $0.00     $169.20 10/30/2023


521-0 PNC BANK                               08/09/2023      2027982      $169.20       $0.00     $169.20 08/21/2023


521-0 PNC BANK                               06/13/2023      2026076      $169.19       $0.00     $169.19 06/29/2023


521-0 PNC BANK                               05/16/2023      2025139      $162.56       $0.00     $162.56 05/26/2023



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Claim name                       Type     Date        Check #      Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
521-0 PNC BANK                          04/18/2023     2024130      $162.55      $0.00     $162.55 04/28/2023


521-0 PNC BANK                          03/15/2023     2023101      $162.56     $0.00      $162.56 03/27/2023


521-0 PNC BANK                          02/15/2023     2022100      $162.56     $0.00      $162.56 02/28/2023


521-0 PNC BANK                          01/18/2023     2021096      $162.55     $0.00      $162.55 02/02/2023


521-0 PNC BANK                          12/13/2022     2020102      $162.56     $0.00      $162.56 12/20/2022


521-0 PNC BANK                          11/16/2022     2019147      $325.11     $0.00      $325.11 12/07/2022


521-0 PNC BANK                          10/18/2022     2018115      $171.46     $0.00      $171.46 10/25/2022


521-0 PNC BANK                          08/17/2022     2016041      $171.48     $0.00      $171.48 08/24/2022


521-0 PNC BANK                          07/13/2022     2014968      $171.47     $0.00     $171.47 07/20/2022


521-0 PNC BANK                          06/14/2022     2014000      $159.58     $0.00      $159.58 06/21/2022


521-0 PNC BANK                          05/17/2022     2012969      $159.59     $0.00      $159.59 05/24/2022


521-0 PNC BANK                          04/12/2022     2011889      $159.58     $0.00      $159.58 04/19/2022


521-0 PNC BANK                          03/16/2022     2010870      $159.58     $0.00      $159.58 03/23/2022


521-0 PNC BANK                          02/16/2022     2009877      $159.59     $0.00      $159.59 02/23/2022


521-0 PNC BANK                          01/19/2022     2008906      $159.58     $0.00      $159.58 01/26/2022


521-0 PNC BANK                          12/15/2021     2007893      $159.58     $0.00      $159.58 12/23/2021


521-0 PNC BANK                          11/16/2021     2006872      $159.59     $0.00      $159.59 11/23/2021


521-0 PNC BANK                          10/14/2021     2005841      $159.58     $0.00      $159.58 10/20/2021


521-0 PNC BANK                          09/14/2021     2004793      $164.31     $0.00      $164.31 09/20/2021


521-0 PNC BANK                          08/18/2021     2003793      $164.30     $0.00     $164.30 08/25/2021


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Claim name                       Type     Date           Check #      Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
521-0 PNC BANK                          07/14/2021       2002721       $164.31      $0.00      $164.31 07/21/2021


521-0 PNC BANK                          06/16/2021       2001744       $164.30     $0.00     $164.30 06/22/2021


521-0 PNC BANK                          05/18/2021       2000745       $159.05     $0.00      $159.05 05/27/2021


521-0 PNC BANK                          04/15/2021       1229361       $159.07     $0.00     $159.07 04/21/2021


521-0 PNC BANK                          03/17/2021       1228352       $159.05     $0.00      $159.05 03/25/2021


521-0 PNC BANK                          02/17/2021       1227333       $159.07     $0.00     $159.07 02/24/2021


521-0 PNC BANK                          01/19/2021       1226318       $477.17     $0.00     $477.17 01/27/2021


521-0 PNC BANK                          12/10/2020       1224533       $159.06     $0.00      $159.06 12/16/2020


521-0 PNC BANK                          10/15/2020       1222757       $157.31     $0.00      $157.31 10/21/2020


521-0 PNC BANK                          09/17/2020       1221765       $157.32     $0.00      $157.32 09/24/2020


521-0 PNC BANK                          08/12/2020       1220704       $157.31     $0.00      $157.31 08/19/2020


521-0 PNC BANK                          07/07/2020       1219662       $306.52     $0.00      $306.52 07/15/2020


                                                      Sub-totals: $8,408.15        $0.00   $8,408.15

                                                     Grand Total: $8,408.15        $0.00




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                                              Disbursements for Claim
Case: 19-03635          CLAUDE C. MOLLENTHIEL
         PNC BANK
                                                                                  Sequence: 13
         ATTN: BANKRUPTCY DEPT
                                                                                     Modify:
         3232 NEWMARK DRIVE
                                                                                 Filed Date: 11/6/2019 12:00:00AM
         MIAMISBURG, OH 45342-
                                                                                 Hold Code:
 Acct No: 9995/PRE ARREARS/1 BLAIR COURT



                                                Debt:        $38,403.96       Interest Paid:              $0.00
        Amt Sched:              $303,841.72                                     Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:       $38,403.96        Balance Due:                $0.00

Claim name                             Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                             DisbDescrp
 5200        PNC BANK
520-0 PNC BANK                                 09/17/2024      2040258      $787.49       $0.00     $787.49


520-0 PNC BANK                                 08/07/2024      2039239      $734.48       $0.00     $734.48 08/20/2024


520-0 PNC BANK                                 07/10/2024      2038359      $734.49       $0.00     $734.49 07/23/2024


520-0 PNC BANK                                 06/18/2024      2037537    $1,468.96       $0.00   $1,468.96 07/03/2024


520-0 PNC BANK                                 05/22/2024      2036635      $734.49       $0.00     $734.49 06/04/2024


520-0 PNC BANK                                 04/17/2024      2035630    $1,468.97       $0.00   $1,468.97 04/30/2024


520-0 PNC BANK                                 03/14/2024      2034668      $734.48       $0.00     $734.48 03/25/2024


520-0 PNC BANK                                 02/14/2024      2033708      $734.49       $0.00     $734.49 02/27/2024


520-0 PNC BANK                                 12/19/2023      2031886      $734.48       $0.00     $734.48 01/18/2024


520-0 PNC BANK                                 11/15/2023      2030924      $734.48       $0.00     $734.48 12/04/2023


520-0 PNC BANK                                 09/19/2023      2029002      $772.81       $0.00     $772.81 10/30/2023


520-0 PNC BANK                                 08/09/2023      2027982      $772.80       $0.00     $772.80 08/21/2023


520-0 PNC BANK                                 06/13/2023      2026076      $772.81       $0.00     $772.81 06/29/2023


520-0 PNC BANK                                 05/16/2023      2025139      $742.47       $0.00     $742.47 05/26/2023



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Claim name                       Type     Date        Check #      Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
520-0 PNC BANK                          04/18/2023     2024130      $742.46      $0.00     $742.46 04/28/2023


520-0 PNC BANK                          03/15/2023     2023101      $742.47     $0.00     $742.47 03/27/2023


520-0 PNC BANK                          02/15/2023     2022100      $742.46     $0.00      $742.46 02/28/2023


520-0 PNC BANK                          01/18/2023     2021096      $742.47     $0.00     $742.47 02/02/2023


520-0 PNC BANK                          12/13/2022     2020102      $742.47     $0.00     $742.47 12/20/2022


520-0 PNC BANK                          11/16/2022     2019147    $1,484.94     $0.00    $1,484.94 12/07/2022


520-0 PNC BANK                          10/18/2022     2018115      $783.18     $0.00      $783.18 10/25/2022


520-0 PNC BANK                          08/17/2022     2016041      $783.18     $0.00      $783.18 08/24/2022


520-0 PNC BANK                          07/13/2022     2014968      $783.18     $0.00      $783.18 07/20/2022


520-0 PNC BANK                          06/14/2022     2014000      $728.90     $0.00     $728.90 06/21/2022


520-0 PNC BANK                          05/17/2022     2012969      $728.89     $0.00      $728.89 05/24/2022


520-0 PNC BANK                          04/12/2022     2011889      $728.90     $0.00     $728.90 04/19/2022


520-0 PNC BANK                          03/16/2022     2010870      $728.90     $0.00     $728.90 03/23/2022


520-0 PNC BANK                          02/16/2022     2009877      $728.89     $0.00      $728.89 02/23/2022


520-0 PNC BANK                          01/19/2022     2008906      $728.90     $0.00     $728.90 01/26/2022


520-0 PNC BANK                          12/15/2021     2007893      $728.90     $0.00     $728.90 12/23/2021


520-0 PNC BANK                          11/16/2021     2006872      $728.89     $0.00      $728.89 11/23/2021


520-0 PNC BANK                          10/14/2021     2005841      $728.90     $0.00     $728.90 10/20/2021


520-0 PNC BANK                          09/14/2021     2004793      $750.44     $0.00     $750.44 09/20/2021


520-0 PNC BANK                          08/18/2021     2003793      $750.46     $0.00      $750.46 08/25/2021


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Claim name                       Type     Date           Check #      Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
520-0 PNC BANK                          07/14/2021       2002721       $750.44      $0.00     $750.44 07/21/2021


520-0 PNC BANK                          06/16/2021       2001744       $750.46     $0.00      $750.46 06/22/2021


520-0 PNC BANK                          05/18/2021       2000745       $726.50     $0.00     $726.50 05/27/2021


520-0 PNC BANK                          04/15/2021       1229361       $726.50     $0.00     $726.50 04/21/2021


520-0 PNC BANK                          03/17/2021       1228352       $726.50     $0.00     $726.50 03/25/2021


520-0 PNC BANK                          02/17/2021       1227333       $726.50     $0.00     $726.50 02/24/2021


520-0 PNC BANK                          01/19/2021       1226318     $2,179.50     $0.00    $2,179.50 01/27/2021


520-0 PNC BANK                          12/10/2020       1224533       $726.50     $0.00     $726.50 12/16/2020


520-0 PNC BANK                          10/15/2020       1222757       $718.51     $0.00      $718.51 10/21/2020


520-0 PNC BANK                          09/17/2020       1221765       $718.51     $0.00      $718.51 09/24/2020


520-0 PNC BANK                          08/12/2020       1220704       $718.52     $0.00      $718.52 08/19/2020


520-0 PNC BANK                          07/07/2020       1219662     $1,400.04     $0.00    $1,400.04 07/15/2020


                                                      Sub-totals: $38,403.96       $0.00 $38,403.96

                                                     Grand Total: $38,403.96       $0.00




        Case 5:19-bk-03635-MJC     Doc 93    Filed 09/24/24        Entered 09/24/24 13:30:42    Desc           3
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